                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


   DAVID ALAN CARMICHAEL, et al.,

                          Plaintiffs,

                  v.                               Civil Action No. 19-2316 (RC)

  ANTONY J. BLINKEN, in his official
  capacity as Secretary of State, et al.,

                          Defendants.


               DEFENDANTS’ OPPOSITION TO MOTION TO INTERVENE
                AND MOTION FOR JOINDER OF MICHELLE BOULTON

        Defendants, Secretary of State Antony J. Blinken and the U.S. Department of State,

respectfully submit the following opposition to Michelle Boulton’s motion to intervene (ECF

No. 94) and Plaintiffs’ motion to join her as a party (ECF No. 92) in this Religious Freedom

Restoration Act (“RFRA”) matter. As discussed below, the Court should deny both motions.

First, both Ms. Boulton and Plaintiffs have failed to confer with Defendants, as required, prior to

filing their respective motions. Further, as explained in the declaration of Kristia Watkins

(attached hereto) and contrary to Ms. Boulton’s assertion, her passport application has not been

denied by the State Department and she has not been denied any requested religious

accommodation. Moreover, her motion to intervene is untimely as this litigation began in 2019

and a briefing schedule to resolve the parties post-remand disputes has already been set. For

those reasons, Ms. Boulton and Plaintiffs fail to meet the requirements for either intervention or

joinder in this matter.
                                       LEGAL STANDARDS

   I.       Motion to Intervene.

        Federal Rule of Civil Procedure 24(a) provides that

        [o]n timely motion, the court must permit anyone to intervene who: claims an interest
        relating to the property or transaction that is the subject of the action, and is so situated that
        disposing of the action may as a practical matter impair or impede the movant's ability to
        protect its interest, unless existing parties adequately represent that interest.

Fed. R. Civ. P. 24(a)(2); see also Roane v. Leonhart, 741 F.3d 147, 151 (D.C. Cir. 2014) (“A

district court must grant a timely motion to intervene that seeks to protect an interest that might be

impaired by the action and that is not adequately represented by the parties.”). Rule 24(a) requires

four distinct elements be satisfied where a party seeks to intervene as a matter of right: “(1) the

application to intervene must be timely; (2) the applicant must demonstrate a legally protected

interest in the action; (3) the action must threaten to impair that interest; and (4) no party to the

action can be an adequate representative of the applicant's interests.” Karsner v. Lothian, 532 F.3d

876, 885 (D.C. Cir. 2008) (internal quotation marks omitted).

        Although “intervenors must demonstrate Article III standing,” Deutsche Bank Nat. Trust

Co. v. FDIC, 717 F.3d 189, 193 (D.C. Cir. 2013), in this circuit “[t]he standing inquiry is repetitive

in the case of intervention as of right because an intervenor who satisfies Rule 24(a) will also have

Article III standing.” Akiachak Native Cmty. v. U.S. Dep’t of Interior, 584 F.Supp.2d 1, 7 (D.D.C.

2008); see also WildEarth Guardians v. Salazar, 272 F.R.D. 4, 13 n.5 (D.D.C. 2010) (“In most

instances, the standing inquiry will fold into the underlying inquiry under Rule 24(a): generally

speaking, when a putative intervenor has a ‘legally protected’ interest under Rule 24(a), it will also

meet constitutional standing requirements, and vice versa.”).




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    II.      Motion for Joinder.

          Under Rule 20 of the Federal Rules of Civil Procedure, persons may join in one action as

plaintiffs if: “(A) they assert any right to relief jointly, severally, or in the alternative with respect

to or arising out of the same transaction, occurrence or series of transactions or occurrences; and

(B) any question of law or fact common to all plaintiffs will arise in the action.” Fed. R. Civ. P.

20(a)(1). “The well-established policy underlying permissive joinder is to promote trial

convenience and expedite the resolution of lawsuits.” Disparte v. Corporate Exec. Bd., 223

F.R.D. 7, 10 (D.D.C. 2004) (quoting Puricelli v. CAN Ins. Co., 185 F.R.D. 139, 142 (N.D.N.Y.

1999)). The movant, however, cannot join parties “who simply engaged in similar types of

behavior . . . [but are] otherwise unrelated; some allegation of concerted action . . . is required.”

Pinson v. Dep’t of Justice, 74 F. Supp. 3d 283, 289 (D.D.C. 2014) (quoting Spaeth v. Mich. State

Univ. College of Law, 845 F. Supp. 2d 48, 53 (D.D.C. 2012)).

          Rule 20(a)’s first prong is met if the claims are logically related. Disparte, 223 F.R.D. at

10. This is a flexible test where the “‘impulse is toward entertaining the broadest possible scope

of action consistent with the fairness to the parties[.]” Lane v. Tschetter, Civ. A. No. 05-1414

(EGS), 2007 WL 2007493, at *7 (D.D.C. Jul. 10, 2007) (quoting United Mine Workers of Am. v.

Gibbs, 383 U.S. 715, 724 (1966)). However, the “flexibility inherent in the logical relationship

test does not give the court license to disregard the ‘common transaction or occurrence’

requirement of Rule 20(a).” Davidson v. District of Columbia, 736 F. Supp. 2d 115, 121 (D.D.C.

2010).

          Rule 20(a)’s second prong requires “that there be some common question of law or fact

as to all of the plaintiffs’ claims[.]” Disparte, 223 F.R.D. at 11. In making the “common

question of law or fact” determination, “courts often consider the circumstances surrounding the



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plaintiffs’ claims, including the people involved, the location, the time frame, and the

defendant’s pattern of behavior.” Montgomery v. STG Int’l, Inc., 532 F. Supp. 2d 29, 35 (D.D.C.

2008).

                                            ARGUMENT

         As an initial matter, Defendants note that Mr. Carmichael submitted Ms. Boulton’s

motion to intervene on her behalf without first obtaining leave to do so. Indeed, Mr. Carmichael

implicitly acknowledged as much when he separately moved for leave to file documents on Ms.

Boulton’s behalf simultaneously with the intervention motion. See ECF No. 93. In his motion

for leave, Mr. Carmichael avers (without any affidavit or proof) that “Michelle Boulton has

asked [him] to serve her documents . . . via the CM/ECF system.” Id. at 1. Further, he intends to

serve as “case manager” for all Plaintiffs. See id. at 2 (Proposed Order).

         Although the Court has permitted Mr. Carmichael to electronically file documents on

behalf of the other Plaintiffs, the Court first required Mr. Carmichael to “submit a document

signed by Plaintiff Lewis and Plaintiff Pakosz evidencing the agreement to have Plaintiff

Carmichael manage all electronic filings on behalf of all Plaintiffs[.]” Feb. 8, 2021, Minute

Order. Mr. Carmichael has presented no such agreement here with respect to Ms. Boulton. For

those reasons, and because of Mr. Carmichael’s repeated failure to confer under the Local Rules

(as discussed below), Defendants object to Mr. Carmichael serving as the default “case manager”

for any additional parties in this matter and for filing documents on behalf of Ms. Boulton

without obtaining prior leave from the Court to do so.

   I.       Plaintiffs and the Proposed Intervenor Failed to Confer with Defendants Prior to
            Filing Their Motions.

         Prior to filing their motions, neither Ms. Boulton nor any Plaintiff in this action conferred

with Defendants, as required. Local Rule 7(m) requires that “[b]efore filing any nondispositive

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motion in a civil action, counsel shall discuss the anticipated motion with opposing counsel in a

good-faith effort to determine whether there is any opposition to the relief sought and, if there is,

to narrow the areas of disagreement.” LCvR 7(m). Failure to adhere to the Local Rules is

appropriate grounds for denying a party’s motion. See, e.g., 12 Percent Logistics, Inc. v. Unified

Carrier Registration Plan Bd., 316 F. Supp. 3d 22, 24 (D.D.C. 2018) (“[T]he court denies

Plaintiffs’ motion for failure to meet and confer as required by Local Civil Rule 7(m).”); English

v. Washington Metro. Area Transit Auth., 323 F.R.D. 1, 25 (D.D.C. 2017) (“This Court routinely

denies non-dispositive motions for failure to comply with Rule 7(m).”). Defendants have noted

Mr. Carmichael’s failure to confer regarding prior motions in this action. See Defs.’ Opp’n to

Pl.’s Mot. to Compel (ECF No. 41) at 4-5. Plaintiffs’ repeated failure to adhere to the Local

Rules should not be tolerated and the pending motions should be denied for failure to confer.

   II.      The Court Should Deny Ms. Boulton’s Motion to Intervene.

         Ms. Boulton asserts that she is entitled to intervene in this action by right. See Mot. for

Leave to Intervene at 1. She further asserts that “despite claiming a religious objection to providing

a Social Security Number on her passport application . . . [the State Department has] refused to

issue her a passport.” Id. at 2. In her proposed complaint, she alleges that “[o]n March 12, 2021,

Defendants . . . refused to issue a passport to Boulton on the grounds she has refused to provide a

Social Security Number.” Proposed Compl. (ECF No. 94-1) ¶ 12. On the basis of her claims, Ms.

Boulton seeks declaratory and injunctive relief as well as attorney’s fees and costs. Id. at p.5.

         Ms. Boulton’s claims are based on the false premise that her passport application has

been denied. As explained in Ms. Kristia Watkins’s declaration, Ms. Boulton has not been

denied any passport for failing to provide a social security number. On the contrary, Ms.

Boulton executed a passport application on March 9, 2021. On or around the same day, the U.S.



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Embassy in San Jose, Costa Rica, sent Ms. Boulton a letter requesting additional information.

She has yet to respond to this request and her application is still pending review. Ms. Boulton

does not claim that her passport application has been unreasonably delayed. Rather, she asserts

that the State Department denied her application for failing to provide a Social Security Number.

As noted, this is false. Accordingly, Ms. Boulton has not suffered an injury in fact that is

cognizable in this proceeding and, thus, lacks standing. See ANR Pipeline Co. v. F.E.R.C., 205

F.3d 403, 408 (D.C. Cir. 2000). Because Ms. Boulton does not have standing to intervene, the

Court should deny her motion. In re Endangered Species Act Section 4 Deadline Litigation-

MDL No. 2165, 704 F.3d 972, 976 (D.C. Cir. 2013).

       Ms. Boulton’s motion should also be denied because it is untimely. This action was filed

nearly two years ago on July 31, 2019. See ECF No. 1. This Court has resolved Defendants’

initial dispositive motion and ultimately remanded Plaintiffs’ passport applications to the State

Department for reconsideration. During the remand period, the State Department granted each

Plaintiff a religious accommodation with respect to their Social Security Numbers and has

rescinded its revocation of Mr. Carmichael’s passport.1 Moreover, the Court has already set a

briefing schedule to resolve the Parties’ post-remand disputes and Defendants have begun

working on their brief that is due to be filed in a matter of weeks, i.e., by July 2, 2021. Ms.

Boulton claims that her passport application was denied in March 2021. Although Defendants

dispute this assertion, it would unduly delay this proceeding were Defendants required to

respond to it along with the current issues in this litigation due to be briefed in the near term.

       None of the other requirements for intervention support Ms. Boulton’s motion. To be sure,




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       Mr. Lewis and Mr. Pakosz did not receive renewed passports due to their failure to
submit sufficiently recent photographs.
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she fails to explain how she has any legally protected interest in the action, nor how this action

threatens that interest. See Karsner, 532 F.3d at 885. She similarly fails to explain why any party

to this action is an inadequate representative of her interests. Id. And she is, of course, free to

separately seek judicial review of the State Department’s actions with respect to her passport

(which, as Defendants explained above, have not yet become final and are therefore unripe for

judicial review).

       Even if the Court construes Ms. Boulton’s motion as seeking permissive intervention, the

Court should still deny intervention. A court “‘may permit’ a party to intervene if that party ‘has

a claim or defense that shares in the main action a common question of law or fact.’” Aref v.

Barr, Civ. A. No. 10-0539, 2020 WL 7974325, at *2 (D.D.C. June 25, 2020) (quoting Fed. R.

Civ. P. 24(b)(1)(B)). Even then, “permissive intervention is an inherently discretionary

enterprise, and the Court enjoys considerable latitude under Rule 24(b).” Id. (internal quotations

and citations omitted). Three factors determine whether a favorable exercise of discretion is

warranted: (1) whether the motion was timely; (2) whether the applicant’s claim shares a

question of law or fact in common with the main action; and (3) whether the original parties will

suffer undue delay or prejudice due to the intervention. Id.

       As noted above, Ms. Boulton’s delay in seeking intervention justifies denying this motion

at this advanced stage in the litigation. Moreover, she does not make any claims nor indicate any

interest in this pending matter, where all the Plaintiffs have been granted a religious

accommodation with respect to their passport applications. Therefore, she cannot establish any

common question of law or fact with the action at hand, which further supports denying the

motion. See Parker v. John Moriarty & Assoc., 319 F.R.D. 18, 23 (D.D.C. Dec. 2, 2016).




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          The parties would also suffer undue delay if Ms. Boulton could intervene at this point in

the litigation. In addition to the additional work required to decipher Ms. Boulton’s arguments in

her filings, the parties would also have to address her claims that appear to differ substantially

from the merits of this case in its post-remand posture. Accordingly, this Court should deny the

request to intervene. See Parker, 319 F.R.D. at 23 (denying permissive intervention in part

because it would have unduly delayed the adjudication of Plaintiffs’ claims by requiring

discovery into matters completely unrelated to the claims before the court).

   III.      The Court Should Deny Plaintiffs’ Motion for Joinder.

          For similar reasons to those discussed above, Plaintiffs’ joinder motion should also be

denied. While Ms. Boulton, like the Plaintiffs in this action, has made a passport application and

requested a religious accommodation, her application remains pending. On the other hand, the

State Department has granted each Plaintiff in this matter a religious accommodation regarding

their Social Security Numbers. Therefore, there is no “common question of law or fact” as to

Ms. Boulton and the Plaintiffs. Disparte, 223 F.R.D. at 11.

          Moreover, Ms. Boulton’s claims would not survive a motion to dismiss as she lacks

standing because, contrary to her allegations, her passport application has not been denied.

Accordingly, she has not suffered any injury in fact. Relatedly, her claims are otherwise unripe

for judicial review. DKT Mem’l Fund, Ltd. v. Agency for Int’l Dev., 887 F.2d 275, 297 (D.C.

Cir. 1989) (holding that “the constitutional requirement for ripeness is injury in fact”).

Therefore, the Court should deny Plaintiffs’ motion for joinder as futile because Ms. Boulton’s

claims would not survive a motion to dismiss. See Breen v. Chao, Civ. A. No. 05-0654, 2019

WL 1304327, at *2 (D.D. C. Mar. 21, 2019); see also James Madison Ltd. By Hecht v. Ludwig,

82 F.3d 1085, 1099 (D.C. Cir. 1996).



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                                         CONCLUSION

       For the reasons discussed above, Defendants request that the Court deny Ms. Boulton’s

motion to intervene and Plaintiffs’ motion for joinder.

Dated June 4, 2021                    Respectfully submitted,

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                                      Acting United States Attorney

                                      BRIAN F. HUDAK
                                      Acting Chief, Civil Division

                                      /s/ Christopher C. Hair
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                                      Counsel for Defendants




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of June, 2021, I caused the foregoing to be served on

pro se Plaintiffs David Carmichael, William Mitchell Pakosz, and Lawrence Donald Lewis, and

proposed intervenor Michelle Boulton, via U.S. Mail with pre-paid postage, addressed as follows:

       David Alan Carmichael
       1748 Old Buckroe Road
       Hampton, VA 23664

       William Mitchell Pakosz
       P.O. Box 25
       Matteson, IL 60443

       Lawrence Donald Lewis
       966 Bourbon Lane
       Nordman, ID 83848

       Michelle Boulton
       8491 Hospital Dr., #178
       Douglasville, GA 30134-2412

                                            /s/ Christopher C. Hair
                                            CHRISTOPHER C. HAIR
                                            Assistant United States Attorney
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  DAVID ALAN CARMICHAEL, et al.,

                        Plaintiffs,

                 v.                              Civil Action No. 19-2316 (RC)

  MICHAEL POMPEO, in his official capacity
  as Secretary of State, et al.,

                        Defendants.


                                      [PROPOSED] ORDER

       Upon consideration of Michelle Boulton’s motion to intervene and Plaintiffs’ motion for

joinder, Defendants’ opposition, and the entire record, it is hereby ORDERED that the motions

are DENIED.

SO ORDERED.



___________________                                ___________________________
Date                                               Rudolph Contreras
                                                   United States District Judge
